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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,

                        Plaintiff,

                 v.                      Case No. 1:22-cv-01603-CCB

BOOZ ALLEN HAMILTON HOLDING
CORPORATION, et al.,

                        Defendants.




  PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE PERSONAL OPINIONS OF
    INDIVIDUAL EMPLOYEES OF THE UNITED STATES GOVERNMENT
REGARDING THE GENERAL DESIRABILITY OF THE PROPOSED TRANSACTION
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       In an effort to distract from the anti-competitive effects associated with agreeing to

combine the only two bidders for OPTIMAL DECISION, Defendants have questioned individual

U.S. government employees about whether they have personal opinions about the general

desirability of the merger. This Court has already rejected Defendants’ Motion to Compel

production of documents about government employees’ personal views on the general desirability

of the merger. See Dkt. 138 (Aug. 31, 2022) at 5. Accordingly, Plaintiff respectfully requests that

this Court enter an order in limine excluding at the preliminary injunction hearing any testimony

from individual U.S. government employees regarding any personal opinions about the general

desirability of the merger.

       NSA employees have confirmed that the NSA has taken no position on Booz Allen’s

proposed acquisition of EverWatch. See Deposition of Kevin Y. (Aug. 18, 2022) at 29:20-24;

Deposition of Diane Dunshee (Aug. 18, 2022) at 129:6-22. Even so, in depositions, Defendants

have questioned U.S. government employee witnesses about whether they or their colleagues have

personal opinions concerning the general desirability of the merger, and thus may seek to do the

same at the forthcoming hearing. See, e.g., Kevin Y. Dep. at 37:11-25 (witness questioned about

whether he formed any conclusions about the impact of the merger); id. at 32:5-18 (witness

questioned about whether other NSA employees are in favor of the acquisition); Diane Dunshee

Dep. at 130:1-2 (witness questioned about whether she had any personal opinion about the

merger). While these witnesses had no such personal opinions about the general desirability of the

merger, see id., these types of questions should be excluded consistently with this Court’s August

31, 2022 Order and the Federal Rules of Evidence.

       U.S. government employees’ personal opinions about the general desirability of the merger


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are protected from disclosure by the deliberative process privilege. See Dkt. 138, citing Cipollone

v. Liggett Grp. Inc., Nos. 86-1198, 86-1223, 1987 WL 36515, at *2 (4th Cir. Feb. 13, 1987) (per

curiam); Nat’l Ass’n for Advancement of Colored People v. Bureau of Census, 401 F. Supp. 3d

608, 617 (D. Md. 2019). This Court recently analyzed a Motion to Compel documents relating to

the same issue and concluded:

               [C]omments connected to an author’s subjective views about the general
               desirability of the Proposed Acquisition may be withheld. To be more
               specific, an email from an NSA employee saying “I think this merger would
               be bad for the NSA” may be withheld because the statement is simply a
               candid comment about one person’s conclusory view of the Proposed
               Acquisition.

Dkt. 138 at 5. If documents concerning a U.S. government employee’s personal views about the

general desirability of the merger are beyond the scope of discovery in this case—as this Court

properly concluded they are—then a U.S. government employee’s testimony about their personal

views about the general desirability of the merger are similarly beyond the scope of admissible

evidence in this case.

       U.S. government employees’ personal opinions regarding the general desirability of the

merger would also constitute inadmissible lay opinion and be irrelevant. The NSA has not taken a

position on the merger, see Kevin Y. Dep. at 29:20-24, and Defendants have not offered any

evidence that the government employee witnesses at the upcoming preliminary injunction hearing

have sufficient personal knowledge to support testifying to a lay opinion about the general

desirability of the merger. See Fed. R. Evid. 701(a); see also United States v. Johnson, 617 F.3d

286, 292-93 (4th Cir. 2010) (holding that district court abused its discretion by admitting lay

opinion testimony of witness with insufficient personal knowledge). Moreover, an individual

employee’s lay opinion on the general desirability of the merger, which lacks the foundation

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required by Rule 701(a) of the Federal Rules of Evidence, does not have the “tendency to make a

fact more or less probable than it would be without the evidence” as required by Rule 401 of the

Federal Rules of Evidence. An individual employee’s conclusory opinion that the merger would

be anti-competitive or pro-competitive would not help the Court to determine any relevant issue

in dispute.

       Plaintiff, therefore, respectfully requests that this Court enter an order in limine that

testimony from individual U.S. government employees regarding any personal opinions about the

general desirability of the merger are inadmissible at the upcoming preliminary injunction hearing.

Dated this 9th day of September, 2022
Respectfully submitted,



FOR PLAINTIFF UNITED STATES OF AMERICA:




                                      _______/s/___________________
                                      Jay D. Owen

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                                      ALEXANDER ANDRESIAN (special admission)
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                                      MARTHA FITZGERALD (special admission)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2022, I electronically filed the foregoing Motion in
Limine to Exclude Personal Opinions of Individual Employees of the United States Government
Regarding the General Desirability of the Proposed Transaction with the Clerk of Court using the
CM/ECF system, and served, via electronic filing, counsel of record for all parties.



                                                   _______/s/_________________
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